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                        EXHIBIT A
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       NYSCEF                                     Document
                                                       10 List
       Nassau County Supreme Court               Index # 607805/2024      Created on:08/29/2024 01:53 PM

Case Caption:   SDN Limited et al v. IOV Labs Limited et al
Judge Name:     Sharon Gianelli
Doc#     Document Type/Information                                Status        Date Received   Filed By
1        SUMMONS WITH NOTICE                                        Processed   05/03/2024      Piskora, J.
         Summons with Notice
2        AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   07/29/2024      Piskora, J.
         Affirmation of Service
3        AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   08/21/2024      Piskora, J.
         Affirmation of Service IOV LABS
4        AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   08/21/2024      Piskora, J.
         Affirmation of Service RSK LABS
5        NOTICE OF MOTION (Motion #001)                             Processed   08/21/2024      Piskora, J.
         Notice of Motion to Enlarge Time for Service
6        AFFIDAVIT OR AFFIRMATION IN SUPPORT OF                     Processed   08/21/2024      Piskora, J.
         MOTION (Motion #001)
         Affirmation of John Piskora in Support of Motion to
         Extend Plaintiffs' Time to Complete Service of P
7        EXHIBIT(S) - 1 (Motion #001)                               Processed   08/21/2024      Piskora, J.
         Affirmation of Maria J. Gutierrez in Support of Motion for
         Extension of Time
8        EXHIBIT(S) - 2 (Motion #001)                               Processed   08/21/2024      Piskora, J.
         Affidavit of Non-Service on Defendant Cobo
9        MEMORANDUM OF LAW IN SUPPORT (Motion #001) Processed                   08/21/2024      Piskora, J.

         Memorandum of Law in Support of Plaintiffs' Motion to
         Extend the Time to Complete Service of Process

10       AFFIRMATION/AFFIDAVIT OF SERVICE (Motion #001) Processed               08/21/2024      Piskora, J.

         Affirmation of Service
11       RJI -RE: NOTICE OF MOTION (Motion #001)       Processed                08/21/2024      Piskora, J.
         Request for Judicial Intervention
12       ADDENDUM - COMMERCIAL DIVISION (840C) (Motion Processed                08/21/2024      Piskora, J.
         #001)




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